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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

FAIRLY ODD TREASURES, LLC,

                                                               Civil Action No.: 1:20-cv-01386
Plaintiff,
                                                                Judge Charles P. Kocoras
v.
                                                               Magistrate Judge Sidney I. Shenkier
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,


Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                 492                               Keep-Running Store
                 15                           Mega Save Wholesale & Retail
                 81                                       Rreenly
                  4                                      loverlyer
                 84                                    AngelCity123
                 90                                     Seashell02
                 137                                  Tayseddue589
                 144                          Zi bing zu chuan jin gu gao yao
                 221                                 zhangbaobao2013
                 245                               Venussports_outdoors
                 255                                      Thecute
                 485                          Healthy lifestyle Outdoor Store
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             363                          Going Sporting Store
             377                          Future Outdoor Store
             462                     Sportwear Dropshipping Store
             494                          YoungOutdoor Store
             239                                 Gomo
             515                Shenzhen Focalvalue Technology Co., Ltd.



DATED: July 6, 2020                  Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 6, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
